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              Donald J. Trump
              @realDonaldTrump · Mar 23

   WHY WON’T BRAGG DROP THIS CASE? EVERYBODY SAYS THERE IS NO CRIME
   HERE. I DID NOTHING WRONG! IT WAS ALL MADE UP BY A CONVICTED NUT JOB
   WITH ZERO CREDIBILITY, WHO HAS BEEN DISPUTED BY HIGHLY RESPECTED
   PROFESSIONALS AT EVERY TURN. BRAGG REFUSES TO STOP DESPITE
   OVERWHELMING EVIDENCE TO THE CONTRARY. HE IS A SOROS BACKED ANIMAL
   WHO JUST DOESN’T CARE ABOUT RIGHT OR WRONG NO MATTER HOW MANY
   PEOPLE ARE HURT. THIS IS NO LEGAL SYSTEM, THIS IS THE GESTAPO, THIS IS
   RUSSIA AND CHINA, BUT WORSE. DISGRACEFUL!
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